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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION

VEROBLUE FARMS USA, INC.,                §
                                         §
        Plaintiff,                       §
                                         §
v.                                       §
                                         §    CIVIL ACTION NO. 3:19-cv-00764-L
LESLIE A. WULF, BRUCE A. HALL,           §
JAMES REA, JOHN E. REA, and KEITH        §
DRIVER                                   §
                                         §
        Defendant.                       §

        DEFENDANT DRIVER’S BRIEF IN SUPPORT OF MOTION TO DISMISS
                         AMENDED COMPLAINT
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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

VEROBLUE FARMS USA, INC.,                          §
                                                   §
        Plaintiff,                                 §
                                                   §
v.                                                 §
                                                   §     CIVIL ACTION NO. 3:19-cv-00764-L
LESLIE A. WULF, BRUCE A. HALL,                     §
JAMES REA, JOHN E. REA, and KEITH                  §
DRIVER                                             §
                                                   §
        Defendant.                                 §

        DEFENDANT DRIVER’S BRIEF IN SUPPORT OF MOTION TO DISMISS
                         AMENDED COMPLAINT

         Pursuant to Local Rules 7, Defendant Keith Driver (“Driver”) files this Brief in Support of

 his 12(b)(6) Motion to Dismiss Plaintiff’s Amended Complaint.

                                        INTRODUCTION

         Each of Plaintiff VeroBlue Farms USA, Inc.’s (“Plaintiff” or “VeroBlue”) claims against

 Driver contained in the Amended Complaint were specifically released by a January 13, 2017,

 agreement between the parties. The Amended Complaint alleges no facts that would take any of

 its claims outside of the scope of the release, but nevertheless attempts to lump Driver into this

 dispute through a “shotgun” pleading. This shotgun pleading incredibly accuses Driver (who is

 lumped into the definition of “Defendants” throughout) of, inter alia, participating in alleged

 frauds that occurred after he left the company and ceased functioning as an officer or director of

 it. Accordingly, the Amended Complaint should be dismissed under Rule 12(b)(6) for at least

 three reasons: (a) Plaintiff released Driver from all causes of actions, known or unknown, as of

 January 13, 2017, in the parties’ Business Relationship Restructuring Agreement; (2) Plaintiff has

 not adequately plead Causes I-IX against Driver; and (3) Causes I-IX are not actionable.


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 TO DISMISS AMENDED COMPLAINT                                                               PAGE 1
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                                        BACKGROUND

A.       Allegations in the Complaint

         The First Amended Complaint (App.0003-0030) names Driver as a Defendant to all nine

counts listed within the Complaint, including claims for fraudulent concealment, fraudulent

misrepresentation, constructive fraud, civil conspiracy and declaratory judgment. (App. 0011-

0019, ¶ 43-85). VeroBlue alleges Driver served as an officer and employee (and/or) contractor of

VeroBlue from October 1, 2014 through on or about January 13, 2017, when VeroBlue terminated

his employment and officer status. (App. 0004, ¶ 3). Other than this statement (which is not true)

VeroBlue does not allege a single specific action taken by Driver, but instead states a slew of

alleged actions taken by all Defendants, leaving Driver to guess as to which actions VeroBlue

actually asserts he took part in. (App. 0003-0011, ¶¶ 11-42).

B.       Driver’s Employment with VeroBlue.

         Prior to July 1, 2016, Driver performed services for VeroBlue as a designated

representative of Seven Hours Holding Company, Inc., an independent contractor of VeroBlue’s.

(App. 0033). On July 1, 2016, VeroBlue and Driver entered into an Employment Agreement,

terminating Driver’s role as an independent contractor and putting him into the position of Chief

Operating Officer of VeroBlue. (App. 0033-0048).

         Driver’s stint as COO of VeroBlue, however, was very brief – only six months. On January

13, 2017, Plaintiff and Driver entered into a Business Relationship Restructuring Agreement (the

“Release Agreement”), which terminated Driver’s Employment Agreement with Plaintiff and re-

established his consulting relationship with the company. (App. 0049-0063). Thus, Driver was

only an employee of VeroBlue for six months, yet Plaintiff seems to assert that Plaintiff was

involved in numerous schemes allegedly performed by VeroBlue’s officers during times that

Driver was not employed with the company and owed no duty to VeroBlue.

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         Additionally, as a part of the Release Agreement, Plaintiff agreed to the following:




         (App. 0052). Thus, Plaintiff released Driver from all causes of actions, known or

unknown, as of January 13, 2017. (App. 0052).

C.       Facts that Allegedly Occurred After Driver’s Release from VeroBlue.

         Out of all the vague actions allegedly taken by all of the Defendants, VeroBlue only alleges

a few facts that allegedly occurred after it released Driver from any and all causes of actions.

Specifically, the only facts alleged to occur after the release are that on January 13, 2017:

         1. Wulf rebuilt the Wulf Lake House from in or around May 2015 through in or

            around July 2017. (App. 0007, ¶ 23).

         2. VeroBlue employee Tracy Arbanas (“Arbanas”) oversaw the reconstruction of

            the Wulf Lake House, and VeroBlue paid her to do so at an annual cost to

            VeroBlue     of   approximately     $97,500,    which    represented    Arbanas’

            compensation and benefits. Further, VeroBlue funded housing for Arbanas

            close to the lake house, and refreshments for the construction crew on this

            project. All told, VeroBlue incurred approximately $107,490.51 for

            compensation and benefits to Arbanas. (App. 0007, ¶ 24).




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         3. Defendants paid for James Rea’s personal living expenses in Ames, Iowa, about

            forty miles from Webster City, Iowa in or around August 2017 from VeroBlue’s

            funds. (App. 0010, ¶ 39(c)).

         4. Defendants sold a home in Webster City, Iowa for less than what it purchased

            it for on May 25, 2018. (App. 0010, ¶ 39(h).

         5. Plaintiff purchased, at the direction of some or all Defendants, of a building and

            underlying property unnecessary to VeroBlue’s business and located in

            Webster City for $400,000 on July 28, 2016, which VeroBlue sold for $135,000

            on April 13, 2018. (App. 0011, ¶ 41).

None of these facts specifically references any conduct by Driver and instead only lumps him in

as one of the defined “Defendants,” even though his participation in these post-release actions are

factually impossible since Driver was no longer involved with Plaintiff at that time in any capacity

that would have any control, decision-making authority, or even notice of these activities. At the

time all of the foregoing actions were taken, Driver was not an officer or director of VeroBlue,

was merely acting as a consultant to Veroblue, owed no duties to VeroBlue, and was not involved

in the actions. (App. 0031-33).

                              ARGUMENTS AND AUTHORITIES

I.       Legal Standard for Rule 12(b)(6) Motions to Dismiss.

         For most claims, Rule 8 of the Federal Rules of Civil Procedure requires that a plaintiff

plead “a short and plain statement of the claim showing that the pleader is entitled to relief.” FED.

R. CIV. P. 8(a)(2). However, when the claims involve fraud, as in this case, the complaint must

also satisfy Rule 9(b), which requires that “a party must state with particularity the circumstances

constituting fraud[.]” FED. R. CIV. P. 9(b). Moreover “where, as here, ‘multiple defendants are

asked to respond to allegations of fraud, the complaint should inform each defendant of the nature

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of his [or her] alleged participation in the fraud.’” In re Parmalat Securities Litigation, 479 F.

Supp. 2d 332, 340 (S.D.N.Y. 2007) (citation omitted); see also, e.g., Lillard v. Stockton, 267 F.

Supp. 2d 1081, 1094 (N.D. Okla. 2003) (“[W]here fraud is alleged against multiple defendants,

blanket allegations of fraud couched in language such as ‘by the defendants’ are insufficient.

Instead, the specifics of the alleged fraudulent activity of each defendant must be set forth.”).

       In Bell Atlantic Corp. v. Twombly, 550 U.S. 544 (2007), the Supreme Court expressly

“retired” the 50-year old statement in Conley v. Gibson, 355 U.S. 41, 45-46 (1957), that “a

complaint should not be dismissed for failure to state a claim unless it appears beyond doubt that

the plaintiff can prove no set of facts in support of his claim which would entitle him to relief.” As

stated by the Supreme Court, “after puzzling the profession for 50 years, this famous observation

has earned its retirement. The phrase is best forgotten as an incomplete, negative gloss on an

accepted pleading standard: once a claim has been stated adequately, it may be supported by

showing any set of facts consistent with the allegations in the complaint.” Twombly, 127 S. Ct. at

1969. Instead, “Rule 8(a)(2) . . . requires a ‘showing,’ rather than a blanket assertion, of entitlement

to relief. Without some factual allegation in the complaint, it is hard to see how a claimant could

satisfy the requirement of providing not only ‘fair notice’ of the nature of the claim, but also

‘grounds’ on which the claim rests.” Id. at 1965 n.3. “Rule 8(a) ‘contemplate[s] the statement of

circumstances, occurrences, and events in support of the claim presented’ and does not authorize

a pleader’s ‘bare averment that he wants relief and is entitled to it.’” Id. at 1965 n.3 (quoting 5 C.

Wright & A. Miller, FEDERAL PRACTICE AND PROCEDURE § 1202, at 94, 95 (3d ed. 2004)). “While

a complaint attacked by a Rule 12(b)(6) motion to dismiss does not need detailed factual

allegations . . . a plaintiff’s obligation to provide the ‘grounds’ of his ‘entitle[ment] to relief’

requires more than labels and conclusions, and a formulaic recitation of the elements of a cause of



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action will not do.” Id. at 1964-65 (citations omitted). “Factual allegations must be enough to raise

a right to relief above the speculative level,” and “‘the pleading must contain something more . . .

than . . . a statement of facts that merely creates a suspicion [of] a legally cognizable right of

action.’” Id. at 1965 (quoting 5 C. Wright & A. Miller, Federal Practice and Procedure § 1216, at

235-36). “Labels and conclusions” or “a formulaic recitation of the elements of a cause of action”

are insufficient to withstand a motion to dismiss.” Twombly, 127 S. Ct. at 1964-65. When

reviewing a complaint under Rule 12(b)(6), the Court must “construe the complaint in the light

most favorable to the nonmoving party.” Carton v. Gen. Motors Acceptance Corp., 611 F.3d 451,

454 (8th Cir. 2010); see also Broadcast Music, Inc. v. MWS, LLC, 2012 WL 368736, at **1-2

(E.D. Mo. Feb. 3, 2012). “Although the pleading standard is liberal, the plaintiff must allege facts

– not mere legal conclusions – that, if true, would support the existence of the claimed torts.”

Moses.com Securities v. Comprehensive Software Systems, Inc., 406 F.3d. 1052, 1062 (8th Cir.

2005) (citing Schaller Tel. Co. v. Golden Sky Systems, 298 F.3d. 736, 740 (8th Cir. 2002)); see

also Benton v. Merrill Lynch & Co., Inc., 524 F.3d 866, 870 (8th Cir. 2008) (“[w]here the

allegations show on the face of the complaint there is some insuperable bar to relief, dismissal

under Rule 12(b)(6) is appropriate”) (citing Parnes v. Gateway 2000, Inc., 122 F.3d 539, 546 (8th

Cir. 1997)).

       Further, on a motion to dismiss, courts “are not bound to accept as true a legal conclusion

couched as a factual allegation.” Papasan v. Allain, 478 U.S. 265, 286, 106 S. Ct. 2932, 2944

(1986). In deciding whether a claim for relief is supported, a court must consider only the facts

that are alleged, and not un-alleged facts that a plaintiff might later prove. Assoc. Contractors of

California, Inc. v. California State Council of Carpenters, 459 U.S. 519, 526, 103 S. Ct. 897, 902

(1983). As the Supreme Court has explained, “to survive a motion to dismiss, the factual



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allegations in a complaint, assumed true, must suffice ‘to state a claim to relief that is plausible on

its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).

II.    VeroBlue’s Claims Against Driver are Barred by VeroBlue’s Release in the Business
       Relationship Restructuring Agreement.

       Driver moves to dismiss all causes of actions against him in the Amended Complaint

because the plain and unambiguous terms of the Release Agreement bar VeroBue from bringing

such claims. Whether the Amended Complaint should be dismissed based on Release Agreement

should be analyzed under Texas law because the language specifically states “This Agreement

shall be governed by and construed in accordance with the internal laws of the State of Texas,

regardless of the laws that might otherwise govern the applicable principles of conflicts of law

thereof.” (App. 0055).

       A.      VeroBlue Released All Claims Against Driver.

       A release extinguishes a claim or cause of action and is an absolute bar to any right of

action on the released matter. D.R. Horton-Texas, Ltd. v. Savannah Properties Associates, L.P.,

416 S.W.3d 217, 226 (Tex. App.—Fort Worth 2013, no pet.) (citing Dresser Indus., Inc. v. Page

Petroleum, Inc., 853 S.W.2d 505, 508 (Tex. 1993); see also Keck, Mahin & Cate v. Nat'/ Union Fire

Ins. Co. of Pittsburgh, Pa., 20 S.W.3d 692, 698 (Tex. 2000); Victoria Bank & Trust Co. v. Brady, 811

S.W.2d 931, 938 (Tex. 1991); Nat'/ Union Fire Ins. Co. of Pittsburgh, Pa. v. Ins. Co. of N. Am., 955

S.W.2d 120, 127 (Tex. App.—Houston [14th Dist.] 1997), affd, 20 S.W.3d 692 (Tex. 2000). It is

not necessary, however, for the parties to anticipate and explicitly identify every potential cause

of action relating to the subject matter of the release. Savannah, 416 S.W.3d at 226. Although

releases include claims existing at the time of execution, they may also include unknown claims

and damages that develop in the future. Id.




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       Here, the Release Agreement specifically states that as of January 7, 2017, VeroBlue:

       hereby irrevocably and unconditionally release, acquit and forever discharge
       [Driver] from any and all charges, complaints, claims, liabilities, obligations,
       promises, agreements, controversies, damages, actions, causes of action, suits,
       rights, demands, costs, losses, known or unknown . . . which the [VeroBlue]
       Releasees now have, own, hold, or to which the [VeroBlue] Releasees at any time
       heretofore had, owned, or held against [Driver], including, without limitation, the
       Egregious Cause Claims.

(App. 0052). “Egregious Cause Claims” is narrowly defined as Driver failing to maintain his main

office in Dallas, Texas and Driver engaging in “other business interests and engagements outside

of [VeroBlue]. (App. 0049). The broad language chose by the parties establishes the intent for the

Release Agreement to be complete, full, and final. Therefore, the Release Agreement precludes all

claims Plaintiff has asserted against Driver in this case. See, e.g., D.R. Horton-Texas, 416 S.W.3d

at 227 (holding that release of "all past, present, or future claims, actions, demands, and causes of

action, of whatever kind or character, known or unknown, asserted or unasserted" with respect to

certain contracts and property barred claims for breach of contract, warranty, and negligence

relating to the same contracts and property).

       Out of all the vague actions allegedly taken by all of the Defendants, the only facts that

VeroBlue alleges that occurred after it released Driver are:

       1. Wulf rebuilt the Wulf Lake House from in or around May 2015 through in or

           around July 2017. (App. 0007, ¶ 23).

       2. VeroBlue employee Tracy Arbanas (“Arbanas”) oversaw the reconstruction of

           the Wulf Lake House, and VeroBlue paid her to do so at an annual cost to

           VeroBlue     of   approximately      $97,500,   which    represented    Arbanas’

           compensation and benefits. Further, VeroBlue funded housing for Arbanas

           close to the lake house, and refreshments for the construction crew on this



DEFENDANT DRIVER’S BRIEF IN SUPPORT OF MOTION
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           project. All told, VeroBlue incurred approximately $107,490.51 for

           compensation and benefits to Arbanas. (App. 0007, ¶ 24).

       3. Defendants paid for James Rea’s personal living expenses in Ames, Iowa, about

           forty miles from Webster City, Iowa in or around August 2017 from VeroBlue’s

           funds. (App. 0010, ¶ 39(c)).

       4. Defendants sold a home in Webster City, Iowa for less than what it purchased

           it for on May 25, 2018. (App. 0010, ¶ 39(h)).

       5. Plaintiff purchased, at the direction of some or all Defendants, of a building and

           underlying property unnecessary to VeroBlue’s business and located in

           Webster City for $400,000 on July 28, 2016, which VeroBlue sold for $135,000

           on April 13, 2018. (App. 0011, ¶ 41).

       As all of the foregoing actions were taken, Driver was not an officer or director of

VeroBlue, was merely acting as a consultant to VeroBlue, owed no duties to VeroBlue, and was

not involved in the actions. (App. 0031-0033). In fact, Plaintiff pleads no facts or allegations that

even hint at Driver being involved at all in the post-release actions occurring after January 13,

2017. (App. 0003-0030). Accordingly, the Court should dismiss Plaintiff’s First Amended

Complaint because VeroBlue released all claims brought against Driver by executing the Release

Agreement.

III.   VeroBlue’s Complaint Overall Fails to State Any Claim Upon Which May be Granted
       Because Plaintiff Employs an Impermissible Style of Pleading.

       Veroblue’s Complaint inappropriately engages in “shotgun” and/or “puzzle” pleading and

should be dismissed as a whole. “Shotgun” pleadings are those that “incorporate all or nearly all

antecedent allegation by reference to each subsequent claim for relief or affirmative defense,”

leaving the court and defendants to parse which allegations support which claims. See S.E.C. v.


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Fraser, 2010 WL 5776401, at *14 (D. Ariz. Jan. 28, 2010) (unpublished) (internal quotations and

citations omitted) (dismissing certain SEC claims for relief where the complaint engages in

shotgun pleading). “Puzzle” pleadings require the court and the defendant to match alleged

statements with the reason they are false or misleading. S.E.C. v. Fraser, 2009 WL 2450508, at

*14 (D. Ariz. Aug. 11, 2009) (unpublished) (citation omitted). Courts have stated that a complaint

relying on shotgun or puzzle pleading fails to meet the particularity requirements of Rule 9(b). Id.

(quoting Teamsters Local 617 Pension and Welfare Funds v. Apollo Group, Inc., 617 F. Supp. 2d

763, 784 (D. Ariz. 2009), vacated on other grounds, 690 F. Supp. 2d 959 (D. Ariz. 2009)); see

also Wagner v. First Horizon Pharm. Corp., 464 F.3d 1273, 1279 (11th Cir. 2006) (noting that the

complaint at issue was a shotgun pleading “incorporating every antecedent allegation by reference

into each subsequent claim for relief”); In re Metro. Sec. Litig., 532 F. Supp. 2d 1260, 1279 (E.D.

Wash. 2007).

       In Wagner, the court concluded that the central problem was that the factual particularity

of the previously stated allegations was “not connected to the otherwise generally pled claim in

any meaningful way.” Wagner, 464 F.3d at 1279. The problem, the court stated, “was not that

Plaintiffs did not allege enough facts, or failed to recite magic words; the problem lay in the fact

that while Plaintiffs introduced a great deal of factual allegations, the amended complaint did not

clearly link any of those facts to its causes of action.” Id. at 1280. In similar fashion, VeroBlue’s

Amended Complaint in this case jumbles together a host of allegations with little organization and

no specificity to Mr. Driver. At times, VeroBlue cites to specific actions and transactions as

evidence that the Defendants engaged in fraudulent conduct, never specifying whether Mr. Driver

participated in the actions or transactions. (App. 0003-0011, ¶¶ 11-42). VeroBlue routinely refers




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to “Defendants” generically, rather than alleging specific facts regarding how Mr. Driver in

particular misled or defrauded VeroBlue. (App. 0003-0011, ¶¶ 11-42).

       VeroBlue’s style of pleading unfortunately forces Mr. Driver and the Court to comb

through the Complaint, determine which fraud or deceit was allegedly perpetrated by Mr. Driver

or the other Defendants, determine which misrepresentations or omissions were made by which

Defendant(s), and then evaluate the adequacy of that factual support as to the various claims

against the Defendants. No list or chart is provided that would identify for each claim which

Defendant(s) committed the fraud or deceit or which Defendant(s) participated in which action or

transaction. This is especially problematic, here, where most of the allegations involve conduct

that occurred while Driver did not even work for VeroBlue. VeroBlue’s parroting of the language

of various causes of actions leaves Defendants and this Court with the task of parsing the

Complaint and inferring what specific conduct VeroBlue might believe to be a violation of the

law. See Fraser, 2009 WL 2450508, at *14. Indeed, this Court is tasked with “untangling which

(if any) act(s) engaged in by which (if any) defendant(s) applies to which (if any) claim(s).” Id. at

*13. Further, the Complaint as written would have Mr. Driver incurring unnecessary expense

conducting discovery on all claims merely because he is incorporated broadly in this shotgun

pleading on claims which he had nothing to do with.

       Moreover, VeroBlue brings nine causes of actions against Driver relating to fraud. The

style of pleading used by VeroBlue is clearly inappropriate for a complaint alleging multiple

charges of fraud against multiple defendants. For this reason alone, the Complaint should be

dismissed. Indeed, district courts are encouraged to dismiss “shotgun” complaints as they

impermissibly burden the trial court. Strategic Income Fund v. Spear, Leeds & Kellogg, 305 F.3d

1293, 1295 n. 9 (11th Cir. 2002) (“The typical shotgun complaint contains several counts, each



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one incorporating by reference the allegations of its predecessors, leading to a situation where most

of the counts (i.e., all but the first) contain irrelevant factual allegations and legal conclusions.”).

Shotgun complaints impose a heavy burden on the trial court because it must sift through each and

every count to determine which allegations are relevant to the cause of action purportedly stated.

United States ex rel. Atkins v. McInteer, 470 F.3d 1350, 1354 (11th Cir. 2006). District courts are

encouraged to dismiss such complaints, as permitting such pleadings results in much more judicial

labor in the long run. Johnson Ent. of Jacksonville, Inc. v. FPL Group, Inc., 162 F.3d 1290, 1333

(11th Cir. 1998); see also S.E.C. v. Mercury Interactive, 2008 WL 4544443, at *8 (N.D. Cal. Sept.

30, 2008) (explaining that shotgun pleading makes it “difficult to discern which filings form the

bases for each claim”); S.E.C. v. Patel, 2009 WL 2015794, at **1-2 (D. N.H. July 7, 2009)

(criticizing this pleading style because “to reasonably determine that any particular claim should

not be dismissed would require the court to first comb the complaint in search of factual support

for each element of the multiple claims pled as to each defendant, and then evaluate the adequacy

of that factual support,” which “is, of course, plaintiff’s job in the first instance, not the court’s.”).

        While VeroBlue finds it sufficient to simply cross-reference the same 42 paragraphs of its

disorganized Complaint under each of the nine causes of action charged against Driver, its failure

to plead with particularity concerning the factual allegations as they relate to the specific causes

of action cited in the Complaint reveals a yet greater failing of the Complaint: a general inability

to plead with the particularity required in order to enable this Court to conclude that Driver did

indeed commit fraud actionable under Texas law.

                The Fraudulent Conduct Complained of Is Not Sufficiently Plead (Counts II,
                III, IV, and V).

        As already noted, Plaintiff’s Counts II, III, IV, and V merely parrot the factors of each

cause of action allegedly violated. Many of the counts contain no identification whatsoever of the


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conduct which allegedly violated the law by which defendant, other than to incorporate by

reference the entire Complaint. The counts simply recite the boilerplate language, and the

Defendants are left to scour through the Complaint’s vague factual narrative to guess what conduct

by which Defendant supposedly comprised these fraudulent actions, misrepresentations or

omissions.

               Plaintiff Fails to Sufficiently Allege that Any Purported Conduct was
               Fraudulent, False, or Misleading.

       Moreover, the factual allegations themselves are simply not pled with the particularity

required in a complaint alleging multiple counts of fraud against numerous defendants. The

Plaintiff complains generally of facts that were “concealed” from VeroBlue and/or

“misrepresented.” Rule 9(b) provides that “[i]n all averments of fraud or mistake, the

circumstances constituting fraud or mistake shall be stated with particularity.” FED. R. CIV. P. 9(b).

Rule 9(b) “prevents nuisance suits and the filing of baseless claims as a pretext to gain access to a

‘fishing expedition.’” United States ex rel. Grubbs v. Kanneganti, 565 F.3d 180, 191 (5th Cir.

2009). The goals of Rule 9(b) are to “provide[ ] defendants with fair notice of the plaintiffs’ claims,

protect[ ] defendants from harm to their reputation and goodwill, reduce[ ] the number of strike

suits, and prevent[ ] plaintiffs from filing baseless claims then attempting to discover unknown

wrongs.” Grubbs, 565 F.3d at 190 (citing Melder v. Morris, 27 F.3d 1097, 1100 (5th Cir. 1994)).

A plaintiff pleading fraud must “specify the statements contended to be fraudulent, identify the

speaker, state when and where the statements were made, and explain why the statements were

fraudulent.” Herrmann Holdings Ltd. v. Lucent Techs. Inc., 302 F.3d 552, 564– 65 (5th Cir. 2002);

see Williams v. WMX Tech. Inc., 112 F.3d 175, 177 (5th Cir. 1997); see also United States ex rel.

Williams v. Bell Helicopter Textron, Inc., 417 F.3d 450, 453 (5th Cir. 2005) (quoting United States,

ex rel. Thompson v. Columbia/HCA Healthcare Corp., 125 F.3d 899, 903 (5th Cir. 1997) (Rule


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9(b)’s particularity requirement generally means, “at a minimum . . . that a plaintiff set forth the

‘who, what, when, where, and how’ of the alleged fraud.”). Failure to comply with Rule 9(b)’s

requirements authorizes the Court to dismiss the pleadings as it would for failure to state a claim

under Rule 12(b)(6). United States ex rel. Williams v. McKesson Corp., 2014 WL 3353247, at *3

(N.D. Tex. July 9, 2014) (citing Lovelace v. Software Spectrum, Inc., 78 F.3d 1015, 1017 (5th Cir.

1996)).

          In this case, the Complaint fails to satisfy the Fifth Circuit’s stringent pleading standards

for Counts II, III, IV, and V. The Plaintiff fails to identify the “circumstances” of the alleged

fraudulent concealment, misrepresentations, constructive fraud, and conspiracy to commit fraud –

the time, place and contents of false representations, as well as the identity of the person making

the misrepresentation and what was obtained or given up thereby. Herrmann Holdings Ltd., 302

F.3d at 564– 65. For example, the Complaint states that “Defendants’ silence in the face of their

duties to disclose their misconduct alleged herein to VeroBlue and its shareholders, constitutes

fraudulent misrepresentation of the material facts alleged in Count II.” (App. 0015, ¶ 58). There is

no specific information as to the time(s), identity of person(s) making the misrepresentations, or

contents of these alleged representations. This is even more problematic given the fact that much

of the complained of conduct occurred after Mr. Driver left VeroBlue’s employment and all claims

against him were released. Accordingly, Plaintiff’s Amended Complaint should be dismissed due

to Plaintiff’s failure to plead Counts II, III, IV, and V with the particularity required by this Court.

                                           CONCLUSION

          For the foregoing reasons, Plaintiff’s claims against Driver should be dismissed for failure

to state a claim in its inadequate pleadings and because all claims brought against Driver in the

Amended Complaint were released in the Release Agreement.



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                                           Respectfully submitted,


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                                           ATTORNEYS FOR DEFENDANT
                                           KEITH DRIVER


                                   CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the above and foregoing
was served upon counsel of records for all parties via ECF Service.

       DATED this 10th day of April, 2019.

                                                   /s/ R. Heath Cheek
                                                   R. Heath Cheek


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